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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

UNITED STATES OF AMERICA

-vs-                                                               Case No. 8:06-cr-43-T-24 MAP


JOANNE CONE

___________________________________/

                                              ORDER
       This cause comes before the Court on Defendant Joanne Cone’s Motion to Strike
Surplusage From Indictment. (Doc. No. 94). The Government opposes the motion. (Doc. No.
99).
       In this motion, Defendant Joanne Cone requests that the Court strike two allegations from
the indictment as surplusage. Federal Rule of Criminal Procedure 7(d) provides that the Court
may strike surplusage from the indictment. However, “[a] motion to strike surplusage from an
indictment should not be granted ‘unless it is clear that the allegations are not relevant to the
charge and are inflammatory and prejudicial.’” United States v. Awan, 966 F.2d 1415, 1426 (11th
Cir. 1992)(quoting United States v. Huppert, 917 F.2d 507, 511 (11th Cir. 1990)).
       The first allegation that Joanne Cone argues should be stricken is contained in the
indictment’s introductory paragraph, which states: “The bankruptcy system was designed to
achieve the dual objectives of assisting honest debtors and protecting creditors.” (Doc. No. 30).
Joanne Cone argues that the reference to “honest” debtors creates an unfair, prejudicial, and
confusing inference. The Court rejects this argument, as the statement that the bankruptcy
systems is designed to assist honest debtors is factually correct and does not create an unfair,
prejudicial, or confusing inference.
       Next, Joanne Cone argues that the following allegations should be stricken from
paragraph three of the indictment:
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       One or about July 29, 1999, defendant MICHAEL L. CONE entered into an
       agreement with the State of Florida. That agreement required that MICHAEL L.
       CONE and any company or corporation under his control or direction not work,
       contract, seek to contract or act as a material supplier, subcontractor or consultant,
       on any Florida Department of Transportation contract or project, excluding work
       on existing contracts, for a period of four years.
(Doc. No. 30). Joanne Cone argues that these allegations are prejudicial. The Court has already
considered and rejected this argument in a previous order in this case. (Doc. No. 98).
       Accordingly, it is ORDERED AND ADJUDGED that Defendant Joanne Cone’s Motion
to Strike Surplusage From Indictment (Doc. No. 94) is DENIED.

       DONE AND ORDERED at Tampa, Florida, this 18th day of June, 2007.




Copies to:
Counsel of Record




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